             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 1 of 8                                FILED
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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 ANTONIO SMITH, individually and                    )
 on behalf of all others similarly                  )
 situated,                                          )
                                                    )
         Plaintiffs,                                )
                                                    )            CIVIL ACTION NUMBER:
                         v.                         )            2:17-cv-01113
                                                    )
 ENVIRONMENTAL OF                                   )
 ALABAMA, LLC and WASTE                             )
 SERVICES OF ALABAMA, LLC,                          )
                                                    )
         Defendants.                                )
                                                    )

                   JOINT MOTION FOR APPROVAL OF SETTLEMENT

       Plaintiffs, Antonio Smith, Travis DeLong, John Gosnell, Randy Mitchell, and Jenner

Powell (collectively, “Plaintiffs”) and the Defendants, Environmental of Alabama, LLC (“SE

Alabama”) and Waste Services of Alabama, LLC (“Waste Services Alabama”), hereby stipulate

to the voluntary dismissal of Plaintiffs’ individual claims with prejudice pursuant to Fed. R. Civ.

P. 41(a) and to the dismissal of the putative class claims without prejudice. The parties also jointly

move the Court for entry of an Order approving the parties’ settlement resolving all claims of

Plaintiffs raised in this matter under the Fair Labor Standards Act, 29 U.S.C. § 216(b) (the

“FLSA”). Copies of the Settlement Agreements executed by Plaintiffs are attached hereto as

“Exhibits A-E,” respectively.

       1.        On June 30, 2017, Plaintiff Smith filed the Complaint in Antonio Smith, et al. v.

Waste Services, LLC, et al., U.S. District Court for the Northern District of Alabama, Southern



17363641v2
             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 2 of 8




Division, Case No. 2:17-cv-01113. See ECF No. 1. On July 14, 2017, Plaintiff Smith filed a

Notice of Filing of Consents to Join for Plaintiffs DeLong, Emmer1, Gosnell, Mitchell & Powell.

See ECF No. 10. Plaintiffs assert claim for back wages, liquidated damages and attorney’s fees

under the FLSA. Plaintiffs also filed case on behalf of a putative class, but the Court has not

certified any class or issued any class notice.

       2.        On October 4, 2017, the Court entered an Order of Dismissal, dismissing all claims

against Santek Waste Services, Inc. (“Santek”) and Santek Environmental, LLC (“Santek

Environmental”), pursuant to the voluntary notices of dismissal Plaintiffs filed in response to

Santek and Santek Environmental’s motions to dismiss. See ECF Nos. 20, 21, 35-37.

       3.        There are two methods by which employees can settle and release FLSA claims.

First, employees may settle and release FLSA claims if the Secretary of Labor supervises the

employer’s payment of unpaid wages. See 29 U.S.C. § 216(c); Lynn’s Food Stores, Inc. v. United

States, 679 F.2d 1350, 1353 (11th Cir. 1982). Second, in the context of a lawsuit that an employee

has brought against his or her employer under § 216(b), the employee may settle and release FLSA

claims if the parties present to the Court a proposed settlement and the Court enters a stipulated

judgment approving the fairness of the settlement. Id.; Rampersad v. Certified Installation, LLC,

2012 U.S. Dist. LEXIS 167156, at *2 (E.D. Tenn. 2012). The circumstances justifying court

approval of an FLSA settlement in the private litigation context are as follows:

       Settlements may be permissible in the context of a suit brought by employees under
       the FLSA for back wages because initiation of the action by the employees provides
       some assurance of an adversarial context. The employees are likely to be
       represented by an attorney who can protect their rights under the statute. Thus,
       when the parties submit a settlement to the court for approval, the settlement is


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          Plaintiffs’ counsel filed a Notice of Withdrawal of Mr. Emmer’s consent form on January 30,
2019 (ECF No. 43). As such, Mr. Emmer’s claims against Defendants, if any, have not been released nor
are they affected by this settlement.



17363641v2                                        2
             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 3 of 8




        more likely to reflect a reasonable compromise of disputed issues than a mere
        waiver of statutory rights brought about by an employer’s overreaching. If a
        settlement in an employee FLSA suit does reflect a reasonable compromise over
        issues, such as FLSA coverage or computation of back wages, that are actually in
        dispute; we allow the district court to approve the settlement in order to promote
        the policy of encouraging settlement of litigation.

Barajas v. Sealtech, Inc., U.S. Dist. Ct. E.D. Tenn. Case No. l:13-cv-107 [ECF No. 42] Nov. 6,

2014) (quoting Lynn’s Food Stores, 679 F.2d at 1354). Entry of a stipulated agreement is

appropriate when there is a “bona fide dispute” over FLSA provisions and the proposed settlement

is a “fair and reasonable” resolution of that dispute. Lynn’s Food Stores, 679 F.2d at 1353, 1355;

see also Stalnaker v. Novar Corp., 293 F. Supp.2d 1260, 1263 (M.D. Ala. 2003).

        4.       There is a “bona fide dispute” as to whether Defendants are liable to Plaintiffs under

the FLSA. Defendants deny that they failed to compensate Plaintiffs properly for any overtime

work performed. SE Alabama further denies that it was the employer of any of Plaintiffs, and

Waste Services Alabama denies that it was the employer of any of Plaintiffs except Plaintiff Smith.

After exchanging information and discussing the merits of Plaintiffs’ claims, the parties continue

to disagree as to whether any overtime wages are owed to Plaintiffs. Thus, there is a “bona fide

dispute” as to Defendants’ liability to Plaintiffs.

        5.       A general framework for evaluating the fairness of an FLSA compromise includes:

(1) the existence of fraud or collusion behind the settlement; (2) the complexity, expense, and

likely duration of the litigation; (3) the state of the proceedings and the amount of discovery

completed; (4) the probability of success on the merits; (5) the range of possible recovery; and (6)

the opinions of counsel. See Dees v. Hydradry, 706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010). As

to factor (1), the parties reached the settlement through fact-based, good faith negotiations, wherein

each party recognized weaknesses in his or its position, strengths in the other’s position, and

compromised accordingly in order to avoid the expense and uncertainty of further litigation. As



17363641v2                                            3
             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 4 of 8




to factors (2) and (3), the parties reached the settlement after exchanging and evaluating

information pertinent to the claims. By resolving the case in this fashion, the parties avoided the

expense of further discovery, including deposition discovery, pretrial requirements, trial

preparation, and trial. As to factors (4) and (5), Defendants presented information that lessened

the probability of Plaintiffs’ success on the merits and narrowed the possible range of recovery,

including evidence disputing the claim of uncompensated overtime hours worked. Finally, as to

factor (6), counsel evaluated the merits of the case and the probability of different outcomes with

their respective clients. Plaintiffs were included in the negotiations, fully informed of their options

and provided their authority to enter into the Agreements, as evidenced by their signatures affected

to Exhibits A-E. Thus, the parties believe that the settlement is a fair and reasonable resolution.

        6.       The proposed settlement in this case arises out of the action Plaintiffs brought

against Defendants, which action was adversarial in nature. Plaintiffs and Defendants have been

represented by legal counsel throughout this process, Plaintiffs’ claims were disputed, and the

settlement was reached following extensive arms-length negotiations. Consequently, the parties

submit that the settlement is fair and reasonable and should be approved by the Court.

        7.       Plaintiffs claimed they worked on average the following numbers of overtime hours

per week that were not properly compensated: Smith – 3 to 6, DeLong – 1 to 3, Gosnell – 4 to 7,

Mitchell – 1 to 3; and Powell – 4 to 7. Defendants provided information that challenges the number

of hours claimed and maintains that Plaintiffs were properly compensated for all hours worked.

In light of that information, and after discussions between the parties, the parties agreed to the total

sums listed below as fair and reasonable compromises of each claim. Additionally, the parties

separately negotiated the amount of attorneys’ fees and costs Defendants would pay so as not to

affect Plaintiffs’ recovery.




17363641v2                                         4
             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 5 of 8




       8.        Pursuant to the parties’ settlement, Plaintiffs will receive in total $12,500.00, half

of which is to compensate them for their alleged unpaid back wages and the other half comprises

liquidated damages. The portion to be paid to each Plaintiff is as follows: Smith -- $2,500.00,

DeLong -- $1,500.00, Gosnell -- $3,500.00, Mitchell -- $1,500.00, and Powell -- $3,500.00.

       9.        The settlement results from a bona fide compromise between the parties on a variety

of disputed issues of law and fact. Most fundamentally, Defendants deny that they failed to

compensate Plaintiffs for any overtime. SE Alabama further denies that it was the employer of

any of Plaintiffs, and Waste Services Alabama denies that it was the employer of any of Plaintiffs

except Plaintiff Smith. The parties undertook detailed legal and factual analyses of the claims and

defenses. The parties are resolving the action in order to avoid unnecessary further costs, time and

risks associated with continuing this litigation. The legal and factual nature of the claims and

defenses in this case would have caused significant additional unnecessary expense for the parties

should it have been necessary to litigate the case further.

       10.       The settlement reflects a reasonable compromise of the disputed issues. The

parties, through their attorneys, voluntarily agreed to the terms of the settlement during

negotiations. The parties were counseled and represented by their respective attorneys throughout

the litigation, negotiation and settlement process. Counsel for the parties agree that, in their

respective opinions, the settlement is fair and reasonable under the circumstances.

       11.       The parties agree that payments of the amounts indicated in the Settlement

Agreements and Releases attached hereto as Exhibits A-E are fair and reasonable based on the

relative claims by each respective Plaintiff.

       12.       The parties have also reached an agreement as to the amount of attorney fees and

costs payable to legal counsel for the Plaintiffs and Additional Claimants, in the amount of




17363641v2                                         5
             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 6 of 8




$9,000.00. Under 29 U.S.C. § 216(b), “[t]he Court in such action shall, in addition to any judgment

awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant,

and costs of the action.”

       13.       Plaintiffs intend this settlement of their claims to represent a final resolution of all

claims that they actually raised or that they could have raised in this action.

       WHEREFORE, for the foregoing reasons, the parties jointly request that their Joint Motion

for Approval of Settlement be granted and that the claims of Plaintiffs be dismissed with prejudice.

A proposed Order granting the Motion will be submitted to the Court for approval.




17363641v2                                          6
             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 7 of 8




       Respectfully submitted this 31st day of January, 2019.


By: /s/ Clif Alexander                       By: /s/ Bradford G. Harvey
   Clif Alexander                               Bradford G. Harvey
   (Admitted Pro Hac Vice)                      (Admitted Pro Hac Vice)
   Texas Bar No. 24064805                       Tenn. Bar No. 017393
   clif@a2xlaw.com                              Brad.Harvey@millermartin.com
   Austin W. Anderson                           Megan B. Welton
   (Admitted Pro Hac Vice)                      (Admitted Pro Hac Vice)
   Texas Bar No. 24045189                       Tenn. Bar No. 034485
   austin@a2xlaw.com                            Megan.Welton@millermartin.com
   ANDERSON ALEXANDER, PLLC                     Miller & Martin PLLC
   819 N. Upper Broadway                        832 Georgia Avenue, Suite 1200
   Corpus Christi, Texas 78401                  Chattanooga, TN 37402
   Telephone: (361) 452-1279                    Telephone: (423) 785-8210
   Facsimile: (361) 452-1284                    Facsimile: (423) 785-8293

     Patrick D. McMurray                           Albert L. Vreeland, II
     ASB-3387-M37P                                 ASB-00660V78A
     T. Roe Frazer II                              Of Counsel:
     ASB-6624-R42T                                 Lehr, Middlebrooks, Vreeland &
     Dan Beasley                                   Thompson, P.C.
     (Admitted Pro Hac Vice)                       P.O. Box 11945
     Frazer PLC                                    Birmingham, AL 35202-1945
     1 Burton Hills Blvd., Suite 215               Telephone: (205) 326-3002
     Nashville, TN 37215                           Facsimile: (205) 326-3008
     Telephone: (615) 647-0990
     Facsimile: (866) 274-5384                     Attorneys for Defendants

     Attorneys for Plaintiffs




17363641v2                                     7
             Case 2:17-cv-01113-SGC Document 44 Filed 01/31/19 Page 8 of 8




                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2019, a true and exact copy of the foregoing Joint
Motion for Approval of Settlement has been filed electronically. Notice of this filing will be sent
by operation of the Court’s electronic filing system to all parties indicated on the electronic filing
receipt. All other parties will be served by regular U.S. mail. Parties may access this filing through
the Court’s electronic filing system.

                                               By:    s/ Bradford G. Harvey___________




17363641v2                                        8
